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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                            07-60027-CR-ZLOCH/Snow




  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.
            Defendants.
  ______________________________
                           ORDER ON VARIOUS MOTIONS


              THIS CAUSE is before the Court on various motions filed
  by the defendants.     Being fully advised, it is hereby

              ORDERED AND ADJUDGED as follows:

              1. Defendant Frank Hernandez', Amada Hernandez', Hanibal

  Edwards' and Howard Helfant's Motions to Adopt (DE 408, 409, 411

  and 413) Co-Defendants EVA's and Tropic's Response in Opposition to

  Government's Application for Protective Order are GRANTED except as
  to   any   matter   where    standing   is   an   essential    element    of

  participation.      Any appeal from or objection to any magistrate

  judge ruling must be taken individually, specifically and timely.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 2nd

  day of July, 2007.




  Copies to:
  See Attached Service List
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                                 SERVICE LIST

                       USA v. FRANK HERNANDEZ, et al.

                      CASE NO. 06-60027-CR-ZLOCH/Snow



  AUSA Ellen Cohen (WPB)
  Richard Hersch, Esq. (D-Frank Hernandez & Amada Hernandez)
  Chris Grillo, Esq. (D-Marhee)
  Greg Ross, Esq. (D-Marhee)
  Bruce Lyons, Esq. (D-Antonio)
  Joe Rosenbaum, Esq. (D-Pinkoff)
  Jon May, Esq. (D-E.V.A. Global & Tropical)
  David Bogenschutz, Esq. (D-Antoniou)
  David Vinikoor, Esq. (D-Wiseberg)
  Jeffrey Voluck, Esq. (D-Helfant)
  Sean Ellsworth, Esq. (D-Francois)
  Alberto Acuna, Esq. (D-Concept RX)
  Jeff Harris, Esq. (D-Cruz)
  Michael Hursey, Esq. (D-Walker)
  Richard Della Fera, Esq. (D-Echols)
  Dan Forman, Esq. (D-Edwards and Local Counsel for Hardiman)
  Mark Hardiman, Esq. (D-Edwards)
  AFPD Chantel Doakes (FTL) (D-Baron)




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